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    1   Richard J. Grabowski (State Bar No. 125666)
        Ryan D. Ball (State Bar No. 321772)
    2   Jack Williams IV (State Bar No. 309154)
        JONES DAY
    3   3161 Michelson Drive, Suite 800
        Irvine, California 92612
    4   Tel: 949.851.3939
        Fax: 949.553.7539
    5   Email: rgrabowski@jonesday.com
        Email: rball@jonesday.com
    6   Email: jackwilliams@jonesday.com
    7   Attorneys for Defendant
        EXPERIAN INFORMATION
    8   SOLUTIONS, INC.
    9                        UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
   11
   12   BRYCE ABBINK, individually and on          Case No. 8:19-cv-01257-JFW-PJWx
   13   behalf of all others similarly situated,   Hon. John F. Walter
   14                   Plaintiff,                 DEFENDANT EXPERIAN
              v.                                   INFORMATION SOLUTION INC.’S
   15                                              MEMORANDUM IN SUPPORT OF
        EXPERIAN INFORMATION                       ITS MOTION TO DISMISS
   16   SOLUTIONS, INC., et al.                    PLAINTIFF’S COMPLAINT
                                                   PURSUANT TO FEDERAL RULE OF
   17                   Defendants.                CIVIL PROCEDURE 12(b)(6)
   18                                              Date:     September 16, 2019
   19                                              Time:     1:30 p.m.
                                                   Location: 7A
   20
   21                                              Complaint Filed: June 21, 2019

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    1                                     INTRODUCTION
    2           Plaintiff Bryce Abbink (“Plaintiff”) alleges that Experian willfully violated the
    3   Fair Credit Reporting Act (“FCRA”) by furnishing his credit information to Lend
    4   Tech Loans, Inc. (“Lend Tech”), a purported mortgage lender, who allegedly lacked
    5   a permissible purpose and impermissibly re-sold his federal student loan information
    6   to Unified Document Services, LLC (“UDS”). Plaintiff’s allegations, however, fail
    7   to state a claim against Experian. While Plaintiff claims that Experian should have
    8   uncovered certain “red flags” regarding Lend Tech’s permissible purpose to access
    9   Plaintiff’s consumer report, Plaintiff fails to sufficiently allege that Experian lacked
   10   reasonable procedures to ensure compliance with the FCRA. And, although Plaintiff
   11   alleges that Experian disclosed information beyond that permitted under the FCRA,
   12   his claim is undermined by the documents he incorporates into his complaint. In
   13   addition, Plaintiff’s allegations fall woefully short of establishing that Experian acted
   14   either willfully or in reckless disregard of its obligations under the FCRA.
   15   Accordingly, Plaintiff’s complaint against Experian must be dismissed in its entirety.
   16                                      BACKGROUND
   17      I.    Prescreening And The Fair Credit Reporting Act
   18           The FCRA describes the circumstances under which a credit reporting agency
   19   (“CRA”), like Experian, may lawfully furnish a consumer report to a third party;
   20   these are called “permissible purposes.” 15 U.S.C. § 1681b; see also Stergiopoulos
   21   v. First Midwest Bancorp, Inc., 427 F.3d 1043, 1045-46 (7th Cir. 2005). A CRA has
   22   a permissible purpose (and thus may lawfully) furnish a consumer report to “a person
   23   which it has reason to believe,” among other things, “intends to use the information
   24   in connection with a credit transaction involving the consumer . . . and involving the
   25   extension of credit to, or review or collection of an account of, the consumer,” 15
   26   U.S.C. § 1681b(a)(3)(A), or in connection with an unsolicited (i.e., prescreen) credit
   27   transaction that “consists of a firm offer of credit,” id. § 1681b(c)(1)(B).
   28
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    1         This case concerns Experian’s sale of prescreen credit reports to Lend Tech, a
    2   mortgage lender, who certified that it intended to offer consumers firm offers of
    3   credit. (Compl. at ¶ 48.) In prescreening, a user, such as a lender, or an agent acting
    4   on the lender’s behalf, submits pre-selected credit criteria to a CRA, who returns a
    5   list of consumers who meet that criteria, called a prescreen list. See Kennedy v. Chase
    6   Manhattan Bank USA, NA, 369 F.3d 833, 839-41 (5th Cir. 2004) (describing
    7   prescreening process); see also Harris v. Database Mgmt. & Mktg., Inc., 609 F. Supp.
    8   2d 509, 513 (D. Md. 2009). The lender, in return, agrees to extend a firm offer of
    9   credit to all consumers who meet the preselected criteria. Kennedy, 369 F.3d 839-41.
   10   Prescreening is one of the few instances where the FCRA allows consumer credit
   11   information to be disclosed to a third party without the consumer’s knowledge or
   12   consent. Id. Accordingly, inquiries associated with prescreening cannot be divulged
   13   to anyone but the consumer, cannot impact the consumer’s credit score, and reveal
   14   limited information about the consumer. See 15 U.S.C. § 1681b(c). By allowing
   15   prescreening, Congress struck a balance between the consumer’s right to privacy and
   16   the value a consumer receives from a firm offer of credit. See Cole v. U.S. Capital,
   17   Inc., 389 F.3d 719, 725 (7th Cir. 2004) (“Congress balanced any privacy concerns
   18   created by pre-screening with the benefit of a firm offer of credit or insurance for all
   19   consumers identified through the screening process.”); Harris, 609 F. Supp. 2d at
   20   513 (citing Trans Union Corp. v. F.T.C., 267 F.3d 1138, 1143 (D.C. Cir. 2001)).
   21      II. Factual Allegations
   22         This case arises out of a solicitation Plaintiff purportedly received from UDS,
   23   advertising a student loan consolidation program. (See Compl., ECF No. 1.) The
   24   solicitation indicated that Plaintiff had approximately $78,500 of federal student loan
   25   debt, which Plaintiff claims Experian reported to Lend Tech on or around January
   26   21. 2019. (Id. at ¶¶ 64-68, Ex. A.) On information and belief, Plaintiff alleges that
   27   Lend Tech sold or transmitted Plaintiff’s credit information to UDS, who then sent
   28   Plaintiff the solicitation on January 25, 2019. (Id. at ¶¶ 31-32.) Notably, however,
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    1   Plaintiff does not allege that Experian had any interactions with UDS, or that it had
    2   any knowledge that Lend Tech resold Plaintiff’s credit information to UDS.
    3         Plaintiff commenced this action on June 21, 2019, alleging that “Experian
    4   willfully violated the FCRA by: (1) furnishing consumer reports regarding
    5   consumers’ personal student loan amounts to Lend Tech Loans absent any
    6   permissible purpose, and (2) failing to conduct a reasonable inquiry into Lend Tech
    7   Loans and its supposed permissible purpose prior to disclosing consumers’
    8   information.” (Id. at ¶ 2.) According to Plaintiff, Experian furnished his “consumer
    9   report to Lend Tech Loans based on Lend Tech Loans [sic] representation that it
   10   intended to use Plaintiff’s consumer report for the purpose of a firm offer of credit or
   11   insurance.” (Id. at ¶ 48.) Yet, Plaintiff claims that Lend Tech never had any
   12   permissible purpose to obtain Plaintiff’s consumer report. (Id. at ¶ 49.) As such,
   13   Plaintiff alleges that Experian willfully violated § 1681b(c)(1). (Id. at ¶ 51.)
   14         Plaintiff further alleges that Experian should have known that Lend Tech
   15   lacked a permissible purpose based on certain “red flags.” (Id. at ¶ 56.) Specifically,
   16   Plaintiff asserts that a reasonable investigation of Lend Tech would have uncovered
   17   that Lend Tech—who held itself out as “a mortgage lender”—did not “possess any
   18   license to conduct any financial services or mortgage lending or originating in the
   19   State of California.” (Id. at ¶ 53.) In addition, Plaintiff claims that Lend Tech
   20   provided Experian with a nonworking telephone number and an outdated business
   21   address. (Id. at ¶ 55.) Despite these “red flags,” Plaintiff alleges that Experian
   22   accepted Lend Tech’s certification of its permissible purpose “at face value.” (Id. at
   23   ¶ 57.) As such, Plaintiff alleges that Experian willfully violated § 1681e(a) by: (i)
   24   “failing to implement reasonable procedures to limit the furnishing of a consumer
   25   report for a permissible purpose”; and (2) “failing to make a reasonable effort to
   26   verify the identity of Lend Tech Loans and the supposed permissible purpose for
   27   which the information was being sought.” (Id. at ¶ 52.)
   28
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    1          Lastly, Plaintiff alleges that Experian willfully violated § 1681b(c)(2) by
    2   providing Lend Tech with Plaintiff’s total outstanding federal student loan debt. (Id.
    3   at ¶ 65.) According to Plaintiff, the “total sum of federal student loan debt directly
    4   identifies the relationship or experience of Plaintiff” to the “U.S. Department of
    5   Education” (the “USDE”) because the USDE owns all federal student loan debt. (Id.
    6   at ¶ 66.) As such, Plaintiff alleges that Experian willfully violated § 1681b(c)(2) by
    7   identifying the relationship between Plaintiff and a particular creditor—i.e., the
    8   USDE. (Id. at ¶ 67.)
    9          Based on these purported willful violations, Plaintiff seeks to represent a
   10   nationwide class to recover “statutory damages, reasonable cost and attorneys’ fees,
   11   and such other relief as the Court deems necessary.” (Id. at ¶¶ 61, 70.) Notably,
   12   however, Plaintiff does not allege that he suffered any actual damages as a result of
   13   Experian’s purported misconduct.
   14                                    LEGAL STANDARD
   15          A motion to dismiss under Rule 12(b)(6) tests the sufficiency of the complaint.
   16   Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). Dismissal may be based on
   17   either the lack of a cognizable legal theory or the absence of sufficient facts alleged
   18   under a cognizable legal theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696,
   19   699 (9th Cir. 1990); Robertson v. Dean Witter Reynolds, Inc., 749 F.2d 530, 533-534
   20   (9th Cir. 1984). While a plaintiff need not give “detailed factual allegations,” he must
   21   plead sufficient facts that, if true, “raise a right to relief above the speculative level.”
   22   Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 545 (2007).
   23          “To survive a motion to dismiss, a complaint must contain sufficient factual
   24   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’ ”
   25   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 547). A
   26   claim is facially plausible when the factual allegations permit “the court to draw the
   27   reasonable inference that the defendant is liable for the misconduct alleged.” Id. In
   28   other words, “the nonconclusory ‘factual content,’ and reasonable inferences from
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  1   that content, must be plausibly suggestive of a claim entitling the plaintiff to relief.”
  2   Moss v. U.S. Secret Service, 572 F.3d 962, 969 (9th Cir. 2009). “Determining whether
  3   a complaint states a plausible claim for relief will . . . be a context-specific task that
  4   requires the reviewing court to draw on its judicial experience and common sense.”
  5   Iqbal, 556 U.S. at 679.
  6           In reviewing a motion to dismiss under Rule 12(b)(6), the court must assume
  7   the truth of all factual allegations and construe all inferences from them in the light
  8   most favorable to the nonmoving party. Thompson v. Davis, 295 F.3d 890, 895 (9th
  9   Cir. 2002). However, legal conclusions need not be taken as true merely because they
 10   are cast in the form of factual allegations. Ileto v. Glock, Inc., 349 F.3d 1191, 1200
 11   (9th Cir. 2003). When ruling on a motion to dismiss, the Court may consider the facts
 12   alleged in the complaint, documents attached to the complaint, documents relied
 13   upon but not attached to the complaint when authenticity is not contested, and matters
 14   of which the Court takes judicial notice. Lee v. City of Los Angeles, 250 F.3d 668,
 15   688-89 (9th Cir. 2001).
 16                                         ARGUMENT
 17      I.    Count I Fails To State A Claim
 18           Plaintiff’s first cause of action centers on his contention that Experian willfully
 19   violated the FCRA by furnishing his credit report to Lend Tech based on Lend Tech’s
 20   representation that it intended to issue firm offers of credit. (Compl. at ¶ 48.)
 21   Plaintiff’s claim, however, is undermined by his own allegations—which do not
 22   establish any violation of the FCRA, much less a willful one—and must therefore be
 23   dismissed.
 24           A. Experian Did Not Violate § 1681(b)(c)(1)
 25           Plaintiff alleges that Experian willfully violated § 1681b(c)(1) by furnishing
 26   his prescreen consumer report to Lend Tech without a permissible purpose. (Compl.
 27   at ¶ 51.) According to Plaintiff, Lend Tech never had “any permissible purpose to
 28   obtain [his] consumer report” because “he did not have any relationship with Lend
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  1   Tech Loans, has never conducted any business with Lend Tech Loans, and has never
  2   provided any authorization to Lend Tech Loans to obtain his consumer report.” (Id.
  3   at ¶¶ 49-50.) But whether Plaintiff had a prior relationship with Lend Tech, or
  4   whether he authorized it to obtain his credit report, is irrelevant to § 1681b(c)(1).
  5         As explained above, § 1681b(c)(1) governs the prescreening process, which
  6   does not require a consumer’s knowledge or consent to furnish a consumer report.
  7   Rather, that section “permits a consumer reporting agency to furnish a creditor with
  8   a consumer report in connection with a credit transaction not initiated by the
  9   consumer if ‘the transaction consists of a firm offer of credit.’” Kennedy, 369 F.3d
 10   at 839-40 (quoting 15 U.S.C. § 1681b(c)(1)); see also Premium Morg. Corp. v.
 11   Equifax Info. Servs., LLC, No. 07-CV-6349, 2008 WL 4507613, at *2 (W.D.N.Y.
 12   Sept. 30, 2008) (“15 U.S.C. § 1681b(c) allows for the ‘prescreening’ of credit
 13   information: a practice which allows a credit reporting agency to furnish a consumer
 14   report in connection with any credit transaction that is not initiated by the consumer
 15   provided, inter alia, that the consumer has not elected to be excluded from such
 16   offers, and the lending agency uses the information furnished by the reporting bureau
 17   to make ‘a firm offer of credit’ to the consumer.”).
 18         Plaintiff’s allegations concede that Experian furnished Plaintiff’s consumer
 19   report based on Lend Tech’s “representation that it intended to use [the] report for
 20   the purpose of a firm offer of credit.” (Compl. at ¶ 48.) Thus, Experian had reason to
 21   believe it was furnishing Plaintiff’s consumer report in accordance with
 22   § 1681b(c)(1). See Henderson v. Corelogic Nat’l Background Data, LLC, 161 F.
 23   Supp. 3d 389, 397 n.7 (E.D. Va. 2016) (“[T]o show that a report was ‘furnished’ for
 24   a permissible purpose. . . a CRA need only show that it had ‘reason to believe’ that
 25   the report would be used for that purpose, and obtained appropriate certifications
 26   from its customers that the report would be used only for that purpose.” (collecting
 27   authority)). That Lend Tech may have ultimately used Plaintiff’s report for an
 28   impermissible purpose is not relevant in determining whether Experian violated
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  1   § 1681b. See Harris, 609 F. Supp. 2d at 514 (“[Plaintiff] argues that [CRA] violated
  2   Section 1681b by selling information from [plaintiff’s] consumer report to
  3   NameSeeker, which NameSeeker did not use for transactions involving firm offers
  4   of credit. However, NameSeeker’s ultimate use of [plaintiff’s] information is not
  5   determinative of [CRA’s] liability under the statute.”). Indeed, Plaintiff “conflates
  6   the purpose for which a report is furnished and the purpose for which it is used.”
  7   Henderson, 161 F. Supp. 3d at 397 n.7. Only the former is relevant for purposes of
  8   § 1681b. Id.
  9         Here, Plaintiff does not allege any facts showing that Experian had any
 10   knowledge that Lend Tech was not issuing firms offers of credit or that it was
 11   reselling Plaintiff’s information to UDS. In fact, Plaintiff does not even allege that
 12   he never received a firm offer of credit from Lend Tech. Because Experian had reason
 13   to believe that Lend Tech possessed a permissible purpose to obtain prescreen credit
 14   reports, Experian did not violate § 1681(b)(c)(1).
 15         B.   Experian Did Not Violate § 1681e(a)
 16         Plaintiff’s claim also fails because he has not sufficiently alleged that Experian
 17   lacked reasonable procedures to ensure compliance with § 1681b. “Courts have held
 18   that ‘[t]he fact that a consumer report is furnished for an impermissible purpose ...
 19   does not result in automatic liability. Liability is imposed only when the consumer
 20   reporting agency either willfully or negligently fails to maintain reasonable
 21   procedures to avoid violations of, i.e., § 1681b.’” Dotzler v. Perot, 876 F. Supp. 207,
 22   208 (E.D. Mo. 1995) (quoting Dobson v. Holloway, 828 F. Supp. 975, 977 (M.D. Ga.
 23   1993)); Pietrafesa v. First Am. Real Estate Info. Servs., Inc., No. 1:05-cv-1450, 2007
 24   WL 710197, at *3 (N.D.N.Y. Mar. 6, 2007) (same). Section 1681e(a) mandates that
 25   CRAs implement reasonable procedures to ensure compliance with § 1681b,
 26   including procedures requiring “prospective users of the information [to] identify
 27   themselves, certify the purposes for which the information is sought, and certify that
 28   the information will be used for no other purpose.” 15 U.S.C. § 1681e(a). In addition,
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  1   “[e]very consumer reporting agency shall make a reasonable effort to verify the
  2   identity of a new prospective user and the uses certified by such prospective user
  3   prior to furnishing such user a consumer report.” Id.
  4         Plaintiff does not allege that Experian failed to verify the identity of Lend Tech
  5   when it first began transmitting prescreens. Instead, Plaintiff concedes that Experian
  6   obtained Lend Tech’s certification of its permissible purpose prior to furnishing
  7   prescreen reports. (Compl. at ¶ 48.) In fact, Plaintiff fails to identify a single process
  8   or procedure Experian lacked, or failed to follow, in evaluating whether Lend Tech
  9   had a permissible purpose. Instead, Plaintiff alleges that Experian violated § 1681e(a)
 10   by failing to uncover that Lend Tech did “not possess any license to conduct any
 11   financial services” (Compl. at ¶ 54), and that it disclosed on Plaintiff’s personal
 12   consumer report “a nonworking telephone number and business address that does not
 13   match the current address on its California business filing” (id. at ¶ 55). But neither
 14   of these purported failures establishes that Experian lacked reasonable procedures to
 15   ensure that Lend Tech had a permissible purpose under § 1681b.
 16         Plaintiff alleges that a review of “the National Multistate Licensing System
 17   (“NMLS”) as well as the California Department of Business Oversight license
 18   system” would have revealed that Lend Tech did “not possess any license whatsoever
 19   to engage in mortgage lending.” (Compl. at ¶ 7.) But this is no red flag at all, as it is
 20   Lend Tech’s designated broker who would have been listed under the NMLS and
 21   California’s license system, not Lend Tech. See Holley v. Crank, 400 F.3d 667, 671
 22   (9th Cir. 2005) (“In California, a corporation may hold a real estate broker’s license,
 23   but only if it designates an officer who is qualified to hold a broker's license to serve
 24   as officer/broker of the corporation.” (citing Cal. Bus. & Prof.Code §§ 10158 and
 25   10211)). Indeed, “[t]he designated officer/broker, not the corporate entity itself, is
 26   charged with the responsibility to assure corporate compliance with the real estate
 27   law.” Id. at 672 (citing Norman v. Dep’t. of Real Estate, 93 Cal. App. 3d 768, 776-
 28   77 (1979)). Because Plaintiff does not (and cannot) allege that Lend Tech failed to
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  1   work through a designated broker, his claim based upon Lend Tech’s lack of a license
  2   in its name fails as a matter of law.
  3         Plaintiff’s claims regarding Lend Tech’s allegedly outdated address and
  4   nonworking telephone number fare no better. Plaintiff does not allege when Lend
  5   Tech’s address became outdated or its telephone stopped working, much less that
  6   those facts existed at the time Experian verified Lend Tech’s identity and permissible
  7   purpose. Indeed, Plaintiff does not explain how either of these facts demonstrates that
  8   Experian failed to comply with its obligations under § 1681e(a), including its
  9   obligation to verify the identity of Lend Tech when it was a new prospective user
 10   and obtain Lend Tech’s certification prior to furnishing prescreen reports. Experian
 11   is not required to verify Lend Tech’s permissible purpose each time it obtained
 12   prescreen credit reports. See Pietrafesa v. First Am. Real Estate Info. Servs., Inc., No.
 13   1:05-CV-1450, 2007 WL 710197, at *4 (N.D.N.Y. Mar. 6, 2007) (“It would be
 14   unreasonable to require credit reporting agencies processing a high number of
 15   requests to independently investigate each and every request to determine its
 16   legitimacy.” (citing Boothe v. TRW Credit Data, 557 F. Supp. 66, 71 (S.D.N.Y.
 17   1982)). If Lend Tech’s address and phone number became outdated, it does not
 18   establish that Experian lacked reasonable procedures to ensure that Lend Tech had a
 19   permissible purpose.
 20         Accordingly, because Plaintiff fails to sufficiently allege that Experian lacked
 21   reasonable procedures to ensure compliance with § 1681b, Plaintiff has failed to state
 22   a claim under § 1681e(a).
 23         C. Plaintiff Has Failed To Allege A Willful Violation
 24         Even if the Court finds that Plaintiff has sufficiently alleged a violation of
 25   either § 1681b(c)(1) or § 1681e(a), Plaintiff’s first cause of action must still be
 26   dismissed for failing to plausibly allege that Experian acted willfully. “The FCRA
 27   does not impose strict liability.” Guimond v. Trans Union Credit Info. Co., 45 F.3d
 28   1329, 1333 (9th Cir. 1995); Sarver v. Experian Info. Sols., 390 F.3d 969, 971 (7th
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  1   Cir. 2004). Rather, liability is imposed only when the CRA either willfully or
  2   negligently fails to maintain reasonable procedures to avoid improper disclosures.
  3   See Banga v. Experian Info. Sols., Inc., No. 09-cv-04867, 2013 WL 5539690, at *6
  4   (N.D. Cal. Sept. 30, 2013) (“The FCRA imposes civil liability on any consumer
  5   reporting agency which is either negligent or willful in failing to comply with any
  6   requirement imposed under the FCRA. 15 U.S.C. §§ 1681n, 1681o.”). Because
  7   Plaintiff does not make any claim for actual damages, plaintiff must allege a willful
  8   violation. See 15. U.S.C. § 1681o; see also Braun v. Client Servs., Inc., 14 F. Supp.
  9   3d 391, 397 (S.D.N.Y. 2014) (“[A] complaint alleging a claim for negligent violation
 10   of the FCRA under § 1681o must allege actual damages.”).
 11         An FCRA violation is willful where it is made either knowingly or with
 12   reckless disregard for the requirements imposed under the Act. See Safeco Ins. Co.
 13   of Am. v. Burr, 551 U.S. 47, 56-60 (2007). A CRA acts in “reckless disregard” for
 14   purposes of the FCRA where its actions involve “an unjustifiably high risk of harm
 15   that is either known or so obvious that it should be known.” Id. at 68 (internal
 16   quotation marks omitted). “In order to survive a motion to dismiss, the plaintiff's
 17   complaint must allege specific facts as to the defendant’s mental state . . . . Merely
 18   stating that the violation was ‘willful’ or ‘negligent’ is insufficient.” Monroe v.
 19   Guilford Cty. Dist. Court, No. 1:15CV580, 2015 WL 4873002, at *1–2 (M.D.N.C.
 20   Aug. 13, 2015) (quoting Braun, 14 F. Supp. 3d at 397 (collecting cases)); see also
 21   Mnatsakanyan v. Goldsmith & Hull APC, No. 12-cv-4358, 2013 WL 10155707, at
 22   *7 (C.D. Cal. May 14, 2013) (dismissing willfulness claim where plaintiff failed to
 23   allege facts showing defendant’s “state of mind” in procuring plaintiff’s consumer
 24   report).
 25         Plaintiff’s complaint is devoid of any factual allegations concerning
 26   Experian’s state of mind or its knowledge that Lend Tech was not using the prescreen
 27   reports for their intended purpose. Indeed, there is not a single allegation that
 28   Experian had any indication that Lend Tech did not send firm offers of credit or that
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  1   it was reselling consumers’ information to UDS. Rather, Plaintiff makes only generic
  2   and conclusory statements regarding the FCRA and Experian’s sale of “consumer
  3   reports to businesses, such as Lend Tech.” (Compl. at ¶ 59.) This is not sufficient to
  4   state a willfulness claim under § 1681n. See Braun, 14 F. Supp. 3d at 398 (dismissing
  5   plaintiff’s willfulness claim because it was pleaded in conclusory fashion, and
  6   amount[ed] to nothing more than a formulaic recitation of the elements of a cause of
  7   action . . . . Defendant’s conduct could just as likely have been unintentional.”);
  8   Mnatsakanyan, 2013 WL 10155707, at *7 (dismissing plaintiff’s willfulness claim
  9   because the complaint did “not allege that [defendant] knew it lacked a permissible
 10   reason for making a credit inquiry at the time it inquired”); see also Perl v. Plains
 11   Commerce Bank, No. 11-cv-7972, 2012 WL 760401, at *2 (S.D.N.Y. Mar. 8, 2012)
 12   (dismissing plaintiff’s willfulness claim, despite plaintiff sufficiently alleging that
 13   defendant “lacked a permissible purpose,” because “plaintiff's assertion that
 14   defendant’s state of mind in doing so was willful is conclusory”). Indeed, “it is just
 15   as possible, based on the factual allegations, that [Experian] made an innocent
 16   mistake.” Perl, 2012 WL 760401, at *2.
 17         Accordingly, because Plaintiff has failed to sufficiently plead facts that would
 18   “permit the Court to infer more than the mere possibility of misconduct,” id.,
 19   Plaintiff’s claim that Experian willfully violated the FCRA by furnishing prescreen
 20   reports to Lend Tech must be dismissed.
 21      II. Count II Fails To State A Claim
 22         Plaintiff’s second cause of action centers on his contention that Experian
 23   willfully violated the FCRA by disclosing his total federal student loan debt on the
 24   prescreen report sold to Lend Tech. (Compl. at ¶¶ 64-68.) As with his first cause of
 25   action, Plaintiff’s second cause of action distorts the requirements of the FCRA and
 26   fails to state any claim against Experian, much less a willful violation.
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 28
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  1         A. Experian Did Not Violate § 1681(b)(c)(2)
  2         Plaintiff alleges that Experian willfully violated § 1681b(c)(2) by informing
  3   Lend Tech of his total outstanding federal student loan debt. Under § 1681b(c)(2),
  4   the information an Experian customer can receive in a prescreen report is limited to
  5   the name and address of the consumer, an identifier not unique to the consumer that
  6   is used by the consumer reporting agency’s customer solely for verifying the identity
  7   of the consumer, and other information pertaining to the consumer that does not
  8   identify the relationship or experience of that consumer with respect to a particular
  9   creditor. 15 U.S.C. § 1681b(c)(2). Plaintiff, however, does not allege that Experian
 10   provided any prescreen report identifying any particular creditor or entity. Rather,
 11   Plaintiff alleges that Experian’s disclosure of his total federal student loan
 12   information implied a relationship between him and the USDE because the USDE
 13   owns all federal student loan debt. (Compl. at ¶¶ 65-67.) Plaintiff is mistaken.
 14         Although the USDE may ultimately backstop all federal student loan debt, a
 15   consumer does not have a direct credit relationship with the USDE. Rather, as the
 16   article Plaintiff cites in his complaint demonstrates (Compl. at ¶¶ 13, 32),1 the USDE
 17   “contracts with loan servicers who handle the billing and other services on
 18   [borrowers’] federal student loans.” (RJN Ex. 1.) There are currently ten different
 19   loan servicers for federally held loans. (See RJN Ex. 2.) These entities work with
 20   borrowers “on repayment plans and loan consolidation and will assist [borrowers]
 21   with other tasks related to your federal student loan.” (Id.) In other words, servicers
 22   are the entities with whom borrowers have relationships, and who report information
 23         1
              The Court may appropriately consider this document through the doctrine of
 24   incorporation by reference. See Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152,
      1160 (9th Cir. 2012) (“[C]ourts may take into account documents whose contents are
 25   alleged in a complaint and whose authenticity no party questions, but which are not
      physically attached to the [plaintiff's] pleading. . . . A court may treat such a document
 26   as part of the complaint, and thus may assume that its contents are true for purposes
      of a motion to dismiss under Rule 12(b)(6).”) (quotation marks and citations
 27   omitted). Notably, a “court need not ... accept as true allegations that contradict
      matters properly subject to judicial notice or by exhibit.” Sprewell v. Golden State
 28   Warriors, 266 F.3d 979, 988 (9th Cir. 2001).
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  1   to Experian. Because Plaintiff does not (and cannot) allege that Experian disclosed
  2   his relationship with any particular servicer of his student loans, he cannot plausibly
  3   claim that Experian’s disclosure of his aggregate federal student loan debt ran afoul
  4   of § 1681b(c)(2).
  5         B.   Plaintiff Has Failed To Allege A Willful Violation
  6         Even if Experian’s disclosure of federal student loan debt did somehow
  7   disclose the relationship of Plaintiff with a particular creditor, Plaintiff has not (and
  8   cannot) plausibly allege that Experian’s violation of § 1681b(c)(2) was willful. As
  9   explained above, to plausibly plead a willful violation, a consumer must allege that
 10   the defendant violated the FCRA either knowingly or recklessly. Safeco, 551 U.S. at
 11   57. A CRA’s conduct can be considered reckless if it “is not only a violation under a
 12   reasonable reading of the statute's terms, but shows that the company ran a risk of
 13   violating the law substantially greater than the risk associated with a reading that was
 14   merely careless.” Id. at 69. A defendant that violates the FCRA based on an
 15   erroneous, but objectively reasonable, reading of the statute does not act recklessly.
 16   Id. To determine whether a defendant's reading was objectively reasonable, courts
 17   may consider the text of the Act or “guidance from the courts of appeal or the Federal
 18   Trade Commission.” Id. at 70.
 19         Here, Plaintiff “does not cite any statutory language or any guidance from the
 20   courts of appeal or the Federal Trade Commission that renders Experian's reading of
 21   the FCRA objectively unreasonable.” Banga, 2013 WL 5539690, at *6. To the
 22   contrary, Plaintiff has already “acknowledged a lack of case law or regulatory
 23   guidance on the issue.” (See ECF No. 24 at 2.) In fact, courts that have addressed
 24   prescreens in the context of student loan consolidation programs have never
 25   indicated that disclosing student loan information in the prescreening process runs
 26   afoul of § 1681b(c)(2). See McDonald v. Nelnet, Inc., 477 F. Supp. 2d 1010, 1014-
 27   15 (E.D. Mo. 2007); Schwartz v. Goal Financial LLC, 485 F. Supp. 2d 170, 177-78
 28   (E.D. N.Y. 2007). To the contrary, these decisions make clear that Congress intended
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  1   prescreening to occur in the context of student loans when it enacted the Higher
  2   Education Act (“HEA”), as a “consolidation loan is one of the several types of loans
  3   authorized under the HEA.”v Schwartz, 485 F. Supp. 2d at 174 (“Pursuant to the
  4   HEA, when a student borrower has multiple loans with multiple private lenders,
  5   another lender is entitled to offer the borrower a consolidation loan.”); McDonald,
  6   477 F. Supp. 2d at 1015 (recognizing that the HEA “set specific requirements for
  7   consolidation of student loans”). It would be nonsensical, and effectively eviscerate
  8   prescreening of student loan consolidation, if a CRA is prohibited from disclosing a
  9   borrower’s total student loan debt. In any event, “[w]ithout clear authority to the
 10   contrary, Experian’s procedures do not amount to a willful violation” of the
 11   prescreening process.” Sheldon v. Experian Info. Sols., Inc., No. 08-cv-5193, 2010
 12   WL 3768362, at *6 (E.D. Pa. Sept. 28, 2010).
 13         Accordingly, because Experian’s interpretation of § 1681b(c)(2) is “at least
 14   objectively reasonable,” Plaintiff has “failed to state claim for a willful violation.”
 15   Perrill v. Equifax Info. Servs., LLC, 205 F. Supp. 3d 869, 878 (W.D. Tex. 2016); see
 16   also Banga, 2013 WL 5539690, at *7 (“Because it was not objectively unreasonable
 17   for Experian to furnish credit reports to a former creditor for ‘account review’
 18   purposes, Experian did not willfully violate the FCRA by failing to maintain
 19   reasonable compliance procedures.”).
 20      III. Leave To Amend Should Not Be Granted
 21         A court may dismiss a claim without leave to amend if the plaintiff cannot cure
 22   a defect by amending to allege additional facts. See Lopez v. Smith, 203 F.3d 1122,
 23   1130 (9th Cir. 2000); DeSoto v. Yellow Freight Sys. Inc., 957 F.2d 655, 658 (9th Cir.
 24   1992); Albrecht v. Lund, 845 F.2d 193, 195 (9th Cir. 1988). Plaintiff cannot allege
 25   any additional facts that would save his claims, as his claims are based on a
 26   misunderstanding of the prescreening process and the requirements under the FCRA.
 27   Accordingly, dismissal of the complaint as to Experian without leave to amend is
 28   warranted.
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  1                                     CONCLUSION
  2         For the foregoing reasons, Plaintiff’s complaint as to Experian should be
  3   dismissed in its entirety pursuant to Rule 12(b)(6).
  4
      Dated:      August 14, 2019
  5
  6                                              By: /s/ Ryan D. Ball
                                                   Richard J. Grabowski
  7                                                Ryan D. Ball
                                                   Jack Williams IV
  8                                                JONES DAY
                                                   3161 Michelson Drive, Suite 800
  9                                                Irvine, CA 92612.4408
 10                                              Attorney for Defendant
                                                 Experian Information Solutions, Inc
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